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(12) United States Patent                                                                     (10) Patent No.:                  US 6,934,947 B1
       Zeidman                                                                                (45) Date of Patent:                       Aug. 23, 2005

(54) VISUAL TOOL FOR DEVELOPING REAL                                                              6,092,095 A * 7/2000 Maytal ....................... 709/100
        TIME TASK MANAGEMENT CODE                                                                 6,145,098 A   11/2000 Nouri et al. .................. 71.4/31
                                                                                                  6,148,323 A * 11/2000 Whitner et al. ............. 709/105
(76) Inventor: Robert Zeidman, 7599 Squirewood                                                       E. R : : ARAGA."
                                                                                                   24-Y-2
                                                                                                                                       - - - 22.
                                                                                                               allahan, II et al. .......
                      Way, Cupertino, CA (US) 95014                                               6,272.648 B1 * 8/2001 Findlay et al. ........ ... 711/145
                                                                                                  6,282,701 B1 * 8/2001 Wygod            t al. .   ... 717/125
(*) Notice:           Subject to any disclaimer, the term of this                                 6,314,446 B1 * 11/2001 Any et al.                 ... 709/100
                      patent is extended or adjusted under 35                                     6,385,664 B1 * 5/2002 Drees ............... ... 709/100
                      U.S.C. 154(b) by 0 days.                                                    6,593.940 B1 * 7/2003 Petersen et al. ............ 345/700
(21) Appl. No.: 09/309,147                                                                             OTHER PUBLICATIONS
       1-1.
 22) Filled:    May 10, 1999                                                            Peter Alken et al. Microsoft Computer Dictionary. 2002.
(22) File               ay U,                                                          Microsoft Press. 5" Edition. p. 45.*
(51) Int. Cl." .................................................. '''                  is cited by examiner
(52) U.S. Cl. ....................... 718/100; 718/102; 718/103;                               y
                                                         718/104                       Primary Examiner Ayaz Sheikh
(58) Field of Search ................................. 34.5/594, 700;                  ASSistant Examiner-Christian LaForgia
                 703/23; 705/7; 709/103, 100, 106, 105,                                (74) Attorney, Agent, or Firm-Edward C. Kwok;
                                             101; 711/145; 714/31                      MacPherson Kwok Chen & Heid LLP
(56)                    References Cited                                               (57)                           ABSTRACT
                   U.S. PATENT DOCUMENTS                                               A tool for developing Software code for real time System
                                                                                       allows the user to Structure Scheduling of multi-tasking
       4,796,179 A        1/1989 Lehman et al. ............... 700/86                  operations into a polling loop without the complexity of a
       4.885,684. A      12/1989 Austin et al. ............... 717/149                 hand-crafted polling loop, while preventing deadlockS
                   A : y E.          his et al                   - - - - 2..           between the real time tasks. The tool provides commands for
        2Y- . 12                     illner et al. ...          ... 71.4/              calling other real time tasks and for waiting for completion
       5,907,701 A * 5/1999 Hanson ..........                    ... 709/101
       5.999,911 A * 12/1999 Berg et al. ..................... 705/7                   of other tasks. The tool can be used to Synthesize code of any
       6,016,466 A    1/2000 Guinther et al. ............ 702.187                      Specified programming language.
       6,044,394 A        3/2000 Cadden et al. .............. 709/100
       6,063,131. A       5/2000 Yoshida ....................... 703/23                                        9 Claims, 11 Drawing Sheets




                                                                                 CREATE
                                                               701           HEADER COMENT

                                                                                 NCLUDE
                                                                            COMPERDIRECIVES


                                                  ADD INCLUDE DIRECTIVES:                          INCLUDE ACTUAL
                                                     CREATE MAKEFILE                                INCE CODES




                                                                             PLACE ABEL. A
                                                                              TOP OF LOOP

                                                                               PACE LABE
                                                               O            FORCURRENT TASK

                                                                            CODEFORCHECKING
                                                               708             STATEFACS


                                                                                CODEFOR
                                                               709      EXECUTINC CURRENT TASKS
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                                                                            100
   102


    05


   104


   105                                                        KEY
                                                                     Tosk monogement code
                                                                     User COde
   106
                                                                                   FIC. 1


   202                                                                                 200
                                                                                  1
   20

                                           Y. . ..   .   . .. . . .. . .
                                              si, TASK : . .
                                               as                      .

   204                                     ‘S.MANAGEMENT                   - 20

   205-3TASK4                        %                              KEY
         . . . . . . . . . .. .. .   .                                     Tosk monogement code

                                                                           User code
   2O6


                                                                            FIC. 2
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                                Subroutine Definition Window

               Subroutine Nome.                                       30        500
               Subroutine Type:                                       302
               Task Priority.                                       -303
               Tosk Voriables                         DeviceNumber IV-304




                                       FIC. 3
                                  Subroutine Code Window
                                       SeOrch Tools
      /tirii
      /* RPM control tosk
      ?etti                                                                     400
      void RPM Controlin, Out)
      int in; //input
      int out; //output
             if (in-o)
                  // coll task2
            VIRTOS coll (tosk2(o=0, b=1, c=10), TRUE)

             return;


                                       FIC 4
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                                        Synthesis Window
      AVolobe Tosks:                                       Used Tosks:


                                                                                                500

                                                           Used include Files.
      file.inc                                             file.inc
      file2.inc                                            file2.inc
      file3.inc                                            file?.inc
      file4.inc                                            fe8.inc

      Compler directives:
      SBASE 10T                            ; Use decinol defoults                v.    503
        Project nome:       SWORDFISH                                                 504
        Author:

        Comment:
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                  PROJECT:          SWORDFSH - Moin Routine
   :              FE:               MAIN. ASM
                  COMMENT: Creoled by VRTOS synthesis
   i"E"E"Gig"G”
       ROUTINE. Moin
   e INPUT PARAMETERS:                                                                         60
        One
   s OUTPUT PARAMETERS
   e    One

   : DESCRIPTION:
   . Moin polling loop for task monogement
     This is O project to run Ohigh resolution monitor
       Speciol compiler directives                                                             602
   S Base 10T                            ; Use decimol defaults
   : Include files                       ; Comments ore from the synthesis file
                                         ; thot the User Creoted
   SINCLUDE 'swordfishinc                ; Project definitions
   SINCLUDE "mocros.inc                     MoCro definitions
   SINCLUDE  global.inc                     Cobol woriobles
   SINCLUDE  stock...inc                    Reserve space for the stock
   SINCLUDE  int-vectinc                    Interrupt vector loble
   SINCLUDE "obles.inc                      Tobles of doto in memory
   SINCLUDE message.inc                     Error messOge strings                              605
       All Subroutine definitions
          for a high level longuoge these would be linked
          by the linker rother thon included OS shown here
   S INCLUDE is?.asm                 ; Interrupt service routines
   SINCLUDE power.osm'                  Power monogement routines
   SINCLUDE'kbd. Osm"                   Keyboord routines
   S INCLUDE "timer.osm"                 ; Timer routines
   SINCLUDE osd.os.m."                   ; On-screen disploy routines
   SINCLUDE scsiasm                      , SCS control routines
   SINCLUDE debug Osm'                   ; Debug routines
                                                                          FIG. 6(a)
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   :moin:MAIN ROUTINE
      initiolizotion tosks
            Sr initToski                perform init losk
            st InitTosk2                perform init losk 2
            is? InitTosk3               perform init losk 5
                                        etc
      Polling loop
   loopStort:
   Loop Toskobel:                       Looptosk1, priority
            ldo Loop Tosk1StoteFlag     Check the loop tosk stote flag
            beq Loop Tosk2lobel         If it's 0, do not coll the tosk
            jsr loop Toski              Otherwise call the tosk
   Loop?osk2lobel:                      Loop Tosk2, priority 2
           ldo Looptosk2StoteFlog       Check the loop tosk 2 stote flog
           beq Looptosk.5-lobel         If it's 0, do not coll the task
           ldo Loop Tosk1Stoteflog      Check all higher priority tosks
           bne loopTosk.5-lobel         if there is o higher priority task, skip this one
            sr loopTosk2                Otherwise coll the tosk
   looptosk3-lobel:                     Loop Tosk.5, priority 2
           lco Loop Tosk5Stateflog      Check the loop losk 5 state flog
           beq Looptosk4 lobel          If it's 0, do not coll the tosk
           ldo LooplosklStoteFlog       Check oll higher priority tosks
           bne loop Tosk4-lobel         If there is 0 higher priority losk, skip this one        606
            sr loop Tosks               Otherwise coll the tosk
   loopTosk4 Jobel:                     loopTosk2, priority 5
           lda LoopToskStoleFlag        Check the loop tosk stole flog
          beq LoopStort                 If it's 0, do not coll the tosk
          ldo Loop Task StoteFlog       Check di higher priority tosks
          bne LoopStort                 If there is 0 higher priority tosk, skip this One
           ldo Loop losk2StoteFlog      Check oll higher priority tosks
           bne LoopStort                If there is 0 higher priority tosk, skip this one
           ldo Loop Tosk.5StoteFlog     Check oil higher priority tosks
           bne loopStort                If there is 0 higher priority tosk, skip this one
           is LCopTosk4                 Otherwise Coll the tosk
           bro loopStort                Begin the loop Ogoin

                                              FIC. 6(b)
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                                      CREATE
                    70            HEADER COMMENT

                                      INCLUDE
                                 COMPLERDIRECTIVES


        ADD INCLUDE DIRECTIVES                          INCLUDE ACTUAL
           CREATE MAKEFILE                              INCLUDE CODES
       705                                                               704
                                      INSERT
                    705               NT ASK


                                   PLACE LABELAT
                    706             TOP OF LOOP


                                    PLACE LABEL
                    707          FOR CURRENT TASK


                                 CODE FOR CHECKINC
                    708             STATE FLACS


                                     CODE FOR
                    709      EXECUTNC CURRENT TASKS



                                     (e) FIC. 7
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                  PROJECT:       SWORDFISH - PLL Control Routine
                  COMMENT: Contains the LOOP losk for controlling the PLL.
                  DATEVER      COMMENSAUTHOR,
                  08/25/98 W.O CREATION Bob Zeidnign
       ROUTINE: PLL. Od
       INPUT PARAMETERS
   : PhoseVoue:
   :      Pur PARAEERS                        Contains new PLL phose volue
   :. REGISTERS
      ACC
                USED
   : PHASE-TCHH
       DESCRIPTION:
       This routine Odusts the Pulse Width Moduloted output which determines
       the PLL phose.
   PLOd:                                        ; Wait for the SCS device to be idle
             VIRTOS woit (SCS) tosk )
                                                ; L00d the new Pll phose volue into the Occumulator
             ldo PhoseVolue                     ; Store it in a register
             sthy. PHASETCHH                    ; Coll the SCSI task 00P tosk to reod the current
                                                ; value of the PL
             VIRTOS colt (
                   SCSI tosk (ScsiDevice = PLL DEV, ScsiDirection = READ),
                   TRUE)                    ; Adust the value of the PLL to the new woue
            mov SpiRDoto-1, SpiTDoto-1
             do   PhoseVolue
            sub       PHASE POS
            sto Phose Temp
            ldo SpiRDato
            oro FPHADJb > 8
            sta SpiTDato                        ; Coll the SCS tosk OOP tosk to write the new
            VIRTOS coll (                       ; Volue bock to the PL
                      SCSI_tosk (Scs Device = PLL_DEV, Scs Direction = WRITE),
                      FALSE)
                                                ; We're done

                                              FIG. 8(a)
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       a              or h a            9          t t tt t h          Are A a the A a    AAe               a   a   ge       at a    A   to the       a ? h a s a see a
                      PROJECT:              SWORDFISH - PL Control Routine
                      COMMENT: Contoins the LOOP tosk for controlling the PLL.
     the     A    A   COMMENModified by VROSSynthesis
                      A    A hr 1   f             f A   8   h the dh   fee set           8 b1   1   a   a                a     the                 A as A A ?he a to

                      DATE                  WER         COMMENTS                 AUTHOR
              O8/25/98 V1.0 CREATION                                             Bob Zeidnon
     ROUTINE: PLLodj
     INPUT PARAMETERS
     PhoseVolue:                                               Contoins new Pill phose volue
     OUTPUT PARAMETERS:
       One
     RECISTERS USED
     ACC
     PHASETCHH
     DESCRIPTION:
     This routine adjusts the Pulse Width Moduloted output which determines
     the PLL phose                                                                                                                                         A    A
   PLLOd.
           ldo PLL adStote                                              ; Go to the correct code, depending on the current
             cbeq0 1, PodjStotel                                        ; stole of execution
           cbeq0 if 2, PLOdStote2
   PLLOdStotel:
                 do SCStoskStote
           cbeq0 i? NOT BUSY, PlodStotelo
           rts
   PLtodStotelo.
           ldo PhoseVolue               ; 100d the new PLl phose value into the occumulolor
             sh: PHASETCHH                                             ; Store it in Oregister
                                                                       ; Coll the SCStosk LOOP Osk to reod the Current
                                                                             value of the P.
             ldo           START
             sto SCSOskStote                                           ; Stort the SCS losk by setting its stote flog
             lda #PLDEW                                                ; Set the SCSI tosk porometers to the correct values
             sto          Scsi)evice                                   ; The SCS device to Occess is the PL
              do          tREAD
             sto          ScstDirection                                ; The direction of tronsfer is Oreod
             inc          PLLOdState                                   ; Increment the stote VOrioble
             rts                                                       ; return to the polling loop
   PLOdStole2:
             ldo SCSOskStote                                           ; Wolt for SCSI tosk to complete
             s S # NOT BUSY, PLOdStote20
   PLLOdState2O:
             mov SpiRDoto, SpiTDoto-1
             G. Eis                                                                                     FIC. 8(b)-1
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         sto PhoseTemp
         ldo Spirocto
         oro FPHADJb > 8
         sto SpiTDoto
                                     ; Coll the SCSI task LOOP tosk to write the new
                                     ; volue back to the PLL
                                     ; Write bock the new fine Odjustment
         do    START
         sto SCStoskStote            ; Stort the SCSI tosk by setting its stote flog
         tdo #PLDEV                  ; Set the SCSI-tosk porometers to the correct volues
         sto SCSIDevice              ; The SCS device to Occess is the PLL
         ldo   WRE
         sto SCsIDirection           ; The direction of tronster is a write
         do NOT BUSY                 ; Put the stole flag back to the NOT BUSY (0) stote
         sto PLOdStole
         rts                         ; Return to the polling loop



                                FIC. 8(b)-2
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        ldo LOOpToskStote                 ; Co to the correct code stole, depending
                                          , on the current stote of execution.
                                          ; This example shows three stotes. There con
                                             be more Or less.
        cbeqo #1, loop Tosk1Stotel
        cbeqo #2, loopTask1Stole2
        cbeqo #5, loopToskStotes
                                         FIC 9(a)
   Loop ToskStolel:
       ldo Looptosk2Slote             ; look of the LOOpToskStote Ond
                                      ; continue only if it is not busy.
        cbeqo NOT BUSY, LoopTosk2Stotelo
        rts                              ; Otherwise return to the polling loop.
   loop ToskStotelo:                     ; Continue execution.

                                         FIC. 9(b)
        do START                         ; Stort the LOOP tosk by setting its stote flog
       sto Loop Tosk2Stote               ; Set the porometers to the correct values.
       ldo     VAL                       ; The SCS device to Occess is the PLt.
       sto TOsk2POrOrn
       ldo #VAL2
       sto Tosk2PorOm2
       inc Loop?oskStote                 :   Increment the current task's slote flag.
       rts                                   Return to the polling loop.
   Loop ToskStotel:
       ido LOOpTosk2Stole                    look of the loop Tosk2Stote.
                                           Continue Only it loopTosk2 hos finished.
       cbeqo if NOT BUSY, loop Tosk2Stotelo
        rts                             U
   LooptoskStotelo:                     ; Otherwise return to the polling loop.
                                         ; Continue execution,
                                        FIC. 9(c)
       ldo Loop Tosk2Stote               ; Load the LOOP tosk stote flag
       sto Tosk Test                     ; Sove it in the ToskTest VOrioble
                                        FIG. 9(d)
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      cbeqo #CONST, obell              If the Occumulotor is equal to the constont
                                       CONST, then bronch to obel Lobell
      inC   Worl                       increment the Worl WOrioble
      ldo   CONST                      lood occumulator register with the volue
                                       of the CONST conton
      ldo   Wor                        tood occumulolor register with the volue
                                       of the Worl VOroble
      mov Worl, Wor2                   Move the volue of VOrioble Worl into worioble Wor2
      Oro #CONST                       OR the volue of the CONST contont into the
      Oro Wor
                                       Occumulotor register
                                       OR the volue of the Worl WOrioble into the
                                       Occumulotor register
      rts                              Return from O subroutine coll
      sto   CONS                       Store the value of the CONS COnton in the
                                       Occumulotor register
      sto   Worl                       Store the volue of the Worl YOrioble in the
                                       Occumulotor register
      shx Wor2                         Concotenote the Hond X registers ond store the
                                       resulting volue into double-size voriable War?.
      sub #CONST                       Subtroct the value of the CONST Contont from the
                                       Occumulotor register
     Sub    Worl                       Subtroct the value of the Worl vorioble from the
                                       Occumulotor register
 Lobell:                               A lobel used for branching

                                   FIC 10
                                                     US 6,934,947 B1
                               1                                                                2
        VISUAL TOOL FOR DEVELOPING REAL                                 many advantages of an RTOS kernel (e.g., insulating the
          TIME TASK MANAGEMENT CODE                                     intricacies of task management from the code implementing
                                                                        the task, or preventing deadlocks) are achieved. Such a
                                                                        virtual RTOS can be offered commercially as a packaged
          BACKGROUND OF THE INVENTION                                   product, with the benefits of a product that is professionally
                                                                        developed, debugged and supported. The virtual RTOS
  1. Field of the Invention                                             maintains the advantages of the polling loop, i.e., Simplicity,
   The present invention relates to tools for software devel            Smaller footprint (by including only the necessary code), and
opment. In particular, the present invention relates to a tool          high performance.
for developing real time Systems.                                          In one embodiment, the virtual RTOS includes a timing
  2. Discussion of the Related Art                                      analysis module which provides estimates of response
  In a typical real time System, the central processing unit            latency. In addition, the virtual RTOS includes a library of
(CPU) performs a number of response time-critical tasks                 prepackaged tasks, including Such housekeeping tasks as
under a Schedule controlled by a kernel of a real time                  garbage collection, which can be selectively included in the
operating system (RTOS). Under the schedule, each task is          15
                                                                        polling loop.
allocated a limited amount ("slice') of time, So that no single            According to one aspect of the present invention, a
task can hoard the CPU-a scarce resource-to the detri                   method is provided for developing a real time task manage
ment of other tasks. The time allocated to a given task can             ment System, which includes the steps of: (a) providing
vary according to an assigned priority of the task. Kernels of          commands to be used in the Source codes of real time tasks
RTOS's are available commercially from a number of ven                  (these commands being designed to provide Synchronization
dors.                                                                   among the real time tasks); (b) Synthesizing code for con
  FIG. 1 is a block diagram of a real time operating System             trolling a polling loop including the real time tasks; (c)
100. As shown in FIG. 1, RTOS 100 includes kernel 101                   Synthesizing code for the commands used in the real time
which controls the scheduling of a number of tasks 102-106              tasks; and (d) compiling the Synthesized code for controlling
through interfaces 107-111, respectively. An example of a               Said polling loop and the Synthesized code for the com
task is an interrupt Service routine for handling an interrupt     25   mands.
from a peripheral hardware device. Interfaces 107-111 are                  In the above-discussed method, the commands specify (a)
each a Small program Section of the task which communi                  waiting for the completion of another real time task, (b)
cates with “hooks' in kernel 101. Naturally, interfaces                 initializing another real time task, (c) executing another real
107-111 conform to the interface requirements of RTOS                   time task; and (d) reporting the execution State of another
100. Kernel 101 allocates time slices and assigns a priority            real time task.
to each task, and activates or deactivates a task through the              In accordance with one aspect of the present invention, a
associated interface according to the time slices and the               graphical user interface is provided to allow a human user to
priority assigned. For example, kernel 101 ensures that an              enter information necessary to Synthesize the polling loop
interrupt Service task begins execution within a predeter               code. In one embodiment, each task in the polling loop is
mined maximum latency from an interrupt. Kernel 101 is             35   assigned a priority to allow preemption in executing tasks in
also responsible for Such “house-keeping tasks as garbage               the polling loop. Because the Synthesized code are Synthe
collection and prevention of deadlocks (i.e., two or more               sized taking into consideration task priorities, deadlocks are
tasks waiting for each other to complete executing, resulting           prevented by design.
in none of the tasks being able to proceed).                               The polling loop of the present invention can be used to
   An alternative to managing the Schedule from commer             40   provide interrupt Service tasks.
cially available kernel 101 is a task management Scheme that               The present invention is better understood upon consid
is illustrated by polling loop 200 shown in FIG. 2. Polling             eration of the detailed description below and the accompa
loop 200 is typically created by a System programmer for a              nying drawings.
Specific application.
                                                                               BRIEF DESCRIPTION OF THE DRAWINGS
   To implement polling loop 200, the System programmer            45
provides “task management task 201 and task management                    FIG. 1 is a block diagram of a real time operating System
code included in the program code of each of interface                  100.
207-211 of tasks 202-206. Typically, scheduling using a                   FIG. 2 shows polling loop 200 for managing tasks
polling loop is simpler than that provided in kernel 101 and            202-206.
thus requires leSS memory space for task management.               50      FIG. 3 shows a dialog box 300 in the graphical user
Further, Since only the necessary task management code                  interface for Specifying a Subroutine.
needs to be included in interfaces 207-211, the bulkiness of               FIG. 4 shows Subroutine code window 400, which pro
a generic driver Suitable for use with many tasks is avoided.           vides an editor environment for entering and editing code.
Consequently, a polling loop is both memory-space efficient
and easier to debug, and typically provides a shorter                      FIG. 5 shows dialog box 500 of a graphical user interface
response time. However, timing in a polling loop is leSS           55   of VIRTOS for specifying the tasks in a polling loop and the
predictable than the kernel approach, and the management                files necessary to compile the polling loop.
code that is necessary in each task interface is written in each          FIG. 6, consisting of FIGS. 6(a) and 6(b), shows an
instance by the System programmer implementing the poll                 example 600 of the synthesized code of a polling loop.
ing loop. Unlike an RTOS kernel, which is available com                    FIG. 7 shows flow chart 700 which provides the steps
mercially in debugged form and Supported with Service and          60   used in one embodiment of the present invention to Synthe
upgrades, the polling loop must be maintained by the System             Size a polling loop.
programmer, including the code for performing housing                     FIG. 8(a) shows a task 800 which includes VIRTOS co
keeping tasks and preventing deadlockS.                                 and “VIRTOS wait” and “VIRTOS call”.
            SUMMARY OF THE INVENTION                                      FIG. 8(b), consisting of FIGS. 8(b)(1) and 8(b)(2), shows
                                                                   65   the synthesized code for task 800.
  The present invention provides a “virtual” RTOS which                   FIG. 9(a) shows the synthesized code for implementing
automates the process of creating a polling loop, So that               States for a task.
                                                     US 6,934,947 B1
                           3                                                                           4
  FIG. 9(b) shows the synthesized code for the VIRTOS                   as an example, Subroutine code window 400. As in any
wait command.                                                           modern development system, VIRTOS allows multiple dia
  FIG. 9(c) shows the synthesized code for the VIRTOS                   log windows and Subroutine code windows to be open
call command.                                                           simultaneously. In FIG. 4, Subroutine code window 400
  FIG. 9(d) shows the synthesized code for the VIRTOS              5    shows the code of a LOOP task “RPM control which calls
check command.                                                          a VIRTOS command. In this implementation, three VIRTOS
  FIG. 10 provides descriptions of the Motorola HC08                    commands are provided:
assembly language instructions used in FIGS. 6(a)-9(d).                    (a) void VIRTOS call( task name(argument list),
   To facilitate croSS-reference among the figures and to                     wait);
simplify the detailed description below, like elements in the              (b) integer VIRTOS check(task name); and
figures are assigned like reference numerals.                              (c) void VIRTOS wait(task name).
                                                                           The command VIRTOS call calls the task specified by
           DETAILED DESCRIPTION OF THE                                  task name, using a list of values provided in “argument
             PREFERRED EMBODIMENTS                                      list.” Argument list is provided in the form of (a=<value>,
  The present invention provides a “virtual” RTOS                  15   b=<values. . . ). “Wait” is a Boolean value indicating
(“VIRTOS") which automates the process of creating a                    whether or not the current task should wait for complete
polling loop. The VIRTOS includes a graphical user inter                execution of the called task (i.e., the task specified by
face for interacting with the human real time System pro                task name). VIRTOS check returns a numeric value indi
grammer or user. Such a graphical user interface can be                 cating whether the task Specified by task name is execut
created, for example, using a commercially available toolkit            ing. VIRTOS wait Suspends execution of the current task
for use on a personal computer or a WorkStation. FIG. 3                 until the task Specified by task name completes execution.
shows, for example, a dialog box 300 in the graphical user                 When all tasks of a polling loop are defined, the polling
interface for Specifying a Subroutine.                                  loop can be synthesized by a code synthesizer. VIRTOS
   As shown in FIG. 3, VIRTOS queries the user to provide               provides a graphical user interface for the user to Specify the
                                                                        tasks in the polling loop and the files necessary to create the
(a) a task name (301), and (b) a subroutine type (302). In this    25   code of the polling loop which can be compiled.
embodiment, four subroutine types are supported: (a) COM                   FIG. 5 shows dialog box 500 of the graphical user
MON subroutine, (b) INIT task; (c) LOOP task and (d) ISR                interface. As shown in FIG. 5, in section 501 of dialog box
task. A COMMON subroutine performs a specified function,                500, the user is queried to provide a list of tasks to be
and can be called from the other Subroutines or tasks. An
                                                                        included by the code Synthesizer to create Synthesized code
INIT task is a Subroutine which is called once by the task              of the polling loop that can be compiled. At section 502 of
management code to initialize a LOOP task or an ISR task.               dialog box 500, the user is queried to provide a list of files
A LOOP task is a task which is provided in the polling loop             to be included by the code synthesizer to create synthesized
to be invoked repeatedly. An ISR task is an interrupt Service           code of the the polling loop that can be compiled. At Section
routine, which is called when the CPU receives an interrupt.            503, the user is queried for directives to a compiler that are
To prevent an ISR task from unduly tying up the CPU while          35   necessary to configure the compiler to create the executable
a higher priority task waits, the ISR task is typically used to         code from the Synthesized code. Respectively, at Sections
Set only a task State flag of an associated LOOP task and               504-507, the user is queried to provide identifying and
returns immediately thereafter. In this manner, Very little             descriptive information to be included in a comment header
processing is actually performed in the ISR task. The actual            of the Synthesized code: (a) a project name; (b) the author's
Servicing of the hardware component generating the inter                name; (c) Some comments to be included; and (d) any other
rupt is handled by the associated LOOP task, after higher          40
                                                                        descriptive information. Upon completing dialog box 500
priority tasks are Serviced.                                            (i.e., after the user provides the requested information and
   Referring again to FIG. 3, Since the Specified Subroutine            selects the “OK” button 508), the synthesized code is created
in this instance is a LOOP task, the graphical user interface           by (a) creating a main polling loop that manages the tasks,
queries the user for (a) a task priority (303), and (b) a set of        and (b) replacing all of the VIRTOS commands by actual
task parameters or variables (304) visible to other tasks,         45   code that would execute the intended function of the
which may be required to be set before the task is called. The          replaced VIRTOS commands. If the user selects “CANCEL'
task priority determines the order of task execution when               button 509, the operation is aborted, and no directive would
multiple tasks are ready. After the user completes fields               be generated for code Synthesis.
301-304, the user selects “OK” button 305 to indicate                      FIG. 7 shows flow chart 700 which provides the steps
completion. Alternatively, the user can select “CANCEL'            50   used in one embodiment of the present invention to Synthe
button 306 to abandon specifying the subroutine.                        Size a polling loop. An example 600 of the Synthesized code
  When the user selects “OK” button 305, VIRTOS creates                 of a polling loop using the steps of FIG. 7 is shown in FIG.
a new record in an internal database for the task created. In           6. In this example, for illustration only, the Synthesized code
addition to the Subroutine name, the Subroutine type and the            is expressed in Motorola HCO8 ASSembly Language. At Step
task variables discussed above, the record in the database         55   701, section 601 of FIG. 6 is created from the identifying
includes also (a) a set of arguments used in calling the task,          and descriptive information of sections 504-507 discussed
and (b) for a LOOP task, a task state flag, which is used by            above with reference to FIG. 5. At step 702, section 602 is
the associated LOOP task to determine the state of execu                created to provide the compiler directives Specified in Sec
tion. Specifically, the task State flag can take one of a number        tion 503 of FIG. 5. At step 703, the include files specified at
of values: (a) “0”, indicating that the task is not executing,     60
                                                                        Section 502 of FIG. 5 are referenced at Section 603 of the
(b) “1”, indicating that the task has been called, but not yet          synthesized code using “190 INCLUDE' directives, which
executed, and (c) "2” or greater, indicating an executing               direct the compiler to include the text in these files during
State represented by the numeric value of the task State flag.          compilation. At step 704, the actual code of each include
   Next, VIRTOS brings up an editor environment, called the             files are inserted at this step into the Synthesized code.
“Subroutine code window', to allow the user to enter and                Alternatively, a Source control tool (e.g., the “makefile'
edit code that constitutes the task. VIRTOS can support any        65   facility available in most UNIX environments) can be used
computer language (e.g., Java, C, C++, BASIC, PASCAL, or                to ensure the necessary files are included for proper com
any assembly language) for coding the tasks. FIG. 4 shows,              pilation and linking.
                                                      US 6,934,947 B1
                           5                                                                          6
  At step 705, INIT tasks for initializing the tasks in the              SCSI task, (b) to assign values to the parameters of SCSI
polling loop are synthesized into section 604. At step 706, a            task, (c) to increment state flag PLL adjState, and (d) to
label (“LoopStart” in this example) representing the begin               return control to the polling loop. The SCSI task is called
ning of the polling loop is placed into section 605. Then,               by the polling loop upon determining from state flag SCSI
steps 707-709 are repeated for each LOOP task to place the               TaskState that SCSI task has been called. In general, the
Synthesized code for each LOOP task into section 606. At                 Synthesized code for implementing the VIRTOS call com
step 707, a label (e.g., any of “LoopTask1 label”,                       mand is shown in FIG. 9(c). The code for incrementing the
“Loop Task2 label”, “Loop Task3 label', and                              State flag is not generated if the “wait' parameter of the
“LoopTask4 label”) is placed into section 606 to indicate                VIRTOS call command is set to “FALSE'.
the beginning of the current loop task. At step 708, code is                For the VIRTOS check command, code is generated (a)
Synthesized into section 606 for checking state flags. In this           to load the State flag to check, and (b) to assign the value of
code, if the state flag for the current task is not set, the             the State flag into the specified variable. The synthesized
current task has not been called. If the current task is not             code for implementing VIRTOS check is shown in FIG.
called, the code branches either to the next LOOP task or, if            9(d).
the current task is the last task in the polling loop, back to      15
                                                                            FIG. 10 provides descriptions of the Motorola HC08
the top of the polling loop. However, if the current flag is set         assembly language instructions used in FIGS. 6(a)-9(d).
(i.e., the current task has been called), the code then checks              The above detailed description is provided to illustrate the
the State flags of all higher priority tasks to determine if the         Specific embodiments of the present invention and is not
current task should be preempted. In this example, since task            intended to be limiting. Numerous variations and modifica
4 has a priority of 3, which is lower than all of tasks 1, 2 and         tions within the scope of the invention are possible. The
3, if any of the state flags of tasks 1, 2 and 3 is set, the code        present invention is set forth in the following claims.
branches to the beginning of the polling loop. At step 709,                 I claim:
code for executing the current task is placed in section 606                1. A method for developing a real time task management
after the code for checking the state flags. Steps 707-709 are           System, comprising:
repeated until the synthesized code for all LOOP tasks are                  providing commands to be used in the source codes of a
Synthesized. Deadlocks are prevented by synthesizing the            25         plurality of real time tasks, said commands being
polling loop according to task priorities.                                     designed to provide Synchronization among said plu
   Beside Synthesizing compilable code for the polling loop,                   rality of real time tasks;
the code for VIRTOS commands are also synthesized. FIG.
8(a) shows a task 800 which includes VIRTOS commands                        assigning a priority to each of said real time tasks;
“VIRTOS wait” and "VIRTOS call". FIG. 8(b) shows the                        Synthesizing Source code for a polling loop, that manages
synthesized code for task 800.                                                 Said plurality of real time tasks in accordance with said
   The example shown in FIG. 8(a) is a task (“pll ad task”)                    assigned priority of each task,
for adjusting the phase of a phase-locked loop (PLL). As                    Synthesizing Source code for said commands used in said
shown in FIG. 8(a), the pll ad task waits for another task                     plurality of real time tasks; and
“SCSI task” to become idle, using the VIRTOS command
"VIRTOS wait”, and then makes two calls to the SCSI                 35      converting, for execution by a computer, said synthesized
task, using VIRTOS command "VIRTOS call". In the first                         Source code for said polling loop and said synthesized
VIRTOS call command, the pll adjtask is to suspend until                      Source code for Said commands.
the called task SCSI task completes. However, in the                       2. A method as in claim 1, wherein one of said commands
Second VIRTOS call command, the pll ad task returns                      Specifies waiting for the completion of a specified one of
before the called SCSI task completes. Thus, analyzing the          40   said plurality of real time tasks.
state requirements of the pll ad task, VIRTOS synthesizes                   3. A method as in claim 1, wherein one of said commands
two entry points “PLL adjState 1” and “PLL adjState2”                    Specifies initialization of a specified one of said plurality of
for the pll adjtask, based on the state flag “PLL adjState”.             real time tasks.
The entry points divide the pll ad tasks into two sections,                4. A method as in claim 1, wherein one of said commands
and are provided immediately following the respective wait          45   Specifies execution of a specified one of said real time tasks.
events (i.e., immediately following the VIRTOS wait com                     5. A method as in claim 1, wherein one of said commands
mand and the first VIRTOS call command). Under this                      reports the execution state of a specified one of said plurality
arrangement, the pll adj task can return control to the                  of real time tasks.
polling loop when the SCSI task has not completed. When                     6. A method as in claim 1, further comprising a graphical
the SCSI task completes, the pll ad task branches to the            50
                                                                         user interface to allow users to specify said plurality of real
entry point. At the end of each section, the state flag                  time tasks.
PLL adjState is incremented. In general, VIRTOS synthe                      7. A method as in claim 1, wherein each of said plurality
Sizes the entry points of a task according to the required               of real time tasks is associated with state variables repre
States of a State flag by including the code such as shown in            Senting an execution State of Said real time task.
FIG. 9(a).                                                                  8. A method as in claim 1, wherein one of said plurality
   For the VIRTOS wait command, VIRTOS synthesizes                  55   of real time tasks comprises an interrupt service task which,
code for checking the state flag of the SCSI task, and for               in response to an interrupt, sets a task state flag that enables
branching to entry point PLL adjState 1a, when the SCSI                  a Second task in Said polling loop to service said interrupt.
task completes. If the SCSI task is busy at the time the state              9. A method as in claim 1, wherein said step of synthe
flag is checked, the code returns control to the polling loop.           Sizing Source code for a polling loop, synthesizes source
In general, the Synthesized code for implementing the               60   code for dividing a real time task into executable sections
VIRTOS wait command takes the form shown in FIG.9(b).                    with separate entry points.
   For each of the VIRTOS call commands, VIRTOS syn
thesizes code (a) to set the state flag SCSI taskState of                                       ck   ck   ck   ck   ck
                UNITED STATES PATENT AND TRADEMARK OFFICE
                      CERTIFICATE OF CORRECTION

PATENT NO.            : 6,934,947 B1                                                               Page 1 of 1
APPLICATIONNO. : 09/30.9147
DATED                 : August 23, 2005
INVENTOR(S)           : Robert Zeidman

        It is certified that error appears in the above-identified patent and that said Letters Patent is
        hereby corrected as shown below:

        Column 2, line 62 delete “co and insert --command--
        Column 2, line 63 delete “and first occurance
        Column 4, line 60 delete “190’ and insert --#--
        Column 5, line 62 delete “VIRTOS call commands and insert --VIRTOS call
        commands--




                                                                    Signed and Sealed this
                                                          Nineteenth Day of December, 2006


                                                                                   WDJ
                                                                              JON. W. DUDAS
                                                          Director of the United States Patent and Trademark Office
